974 F.2d 1332
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lawrence TURNER, Plaintiff-Appellant,v.Raymond M. MUNCY, Warden;  D. R. Lawson, Assistant Warden;Toni V. Bair, Regional Administrator;  W. A. Healey,Lieutenant;  Al Taylor, Recreation/Law Library Supervisor;W. C. Steward, Corporal, Individually and OfficialCapacities, Defendants-Appellees.
    No. 91-6072.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 30, 1991Decided:  September 3, 1992
    
      Lawrence Turner, Appellant Pro Se.
      Mark Ralph Davis, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellees.
      Before WILKINSON and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Lawrence Turner appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Turner v. Muncy, No. CA-89-1612-AM (E.D. Va.  May 8, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    